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                            UNITED STATES DISTRICT COURT FOR THE
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8                                                 )
     VITA COFFEE LLC, et al                        )
 9                                                 )      CASE NO. 2:20-cv-01079-BJR
                            Plaintiffs,            )
10                                                 )      ORDER ON CONSOLIDATION
                            v.                     )
11                                                 )
     FIREMAN’S FUND INSURANCE                      )
12   COMPANY,                                      )
                                                   )
13
                            Defendant.             )
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15          On November 11, 2020, the Court conducted a case management conference to discuss

16   possible consolidation of this and other like matters involving claims for business insurance
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     coverage resulting from the COVID 19 pandemic. Federal Rule of Civil Procedure 42(a) permits
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     courts to consolidate “[i]f actions before the court involve a common question of law or fact.”
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     FED. R. CIV. P. 42(a). This rule affords “broad discretion” to consolidate cases pending in the same
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     district, either upon motion by a party or sua sponte. In re Adams Apple, Inc., 829 F.2d 1484, 1487
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22   (9th Cir. 1987).   Courts consider a number of factors in analyzing the appropriateness of

23   consolidation, including judicial economy, whether consolidation would expedite resolution of the
24   case, whether separate cases may yield inconsistent results, and the potential prejudice to a party
25
     opposing consolidation. See 8 Moore’s Federal Practice—Civil § 42.10[4-5] (2020).
                                                   1
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            Based on the case management conference and the agreement of the parties, the Court
 1
     concludes that consolidation according to insurance group will best serve judicial economy in
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 3   resolving the common issues presented by these cases. As such, the Court hereby ORDERS that

 4   the cases involving the insurance group Fireman’s Fund Insurance Company be consolidated.
 5   These cases include Vita Coffee LLC v. Fireman’s Fund Insurance Company (20-cv-1079); ES
 6
     Restaurant Group Inc v Fireman’s Fund Insurance Company (20-cv-1193); and Worthy Hotels
 7
     Inc et al v. Fireman’s Fund Insurance Company (20-cv-1515), which shall be consolidated under
 8
     case number 20-cv-01079 as the first filed case. The Clerk of the Court is hereby notified of this
 9

10   consolidation.

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12          DATED this 10th day of November, 2020.
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15                                                       BARBARA J. ROTHSTEIN
                                                         UNITED STATES DISTRICT JUDGE
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